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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

OOPAYDO ROINSIN,                              )
                                              )
               Plaintiff,                     )
                                              )        STIPULATION OF DISMISSAL
vs.                                           )             WITH PREJUDICE
                                              )
NUTRIBULLET, L.L.C. and CAPITAL               )          C.A. No.: 3:19-cv-00288-MGL
BRANDS, L.L.C,                                )
                                              )
               Defendants.                    )
                                              )


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the Plaintiff, Oopaydo

Roinsin, by and through her undersigned attorneys, hereby stipulates and agrees that the claims

she asserted against the Defendants and their past, present and future agents, servants,

employees, representatives, employers, officers, directors, stockholders, members, predecessors,

successors, assigns, parent companies, subsidiaries, divisions, affiliates, sister companies,

management companies, administrators, executors, heirs, beneficiaries, attorneys, and insurers

are hereby dismissed with prejudice, without cost to any party, and that such claims are

henceforth res judicata.


WE CONSENT AND SO STIPULATE:


/s/ J. Camden Hodge                               /s/ C. William McGee
J. Camden Hodge (Fed I.D. No. 11756)              C. William McGee (Fed. I.D. No. 05783)
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